
Davis, Judge,
delivered the opinion of the conrt:
This is another case in which a civilian government worker contests her involuntary placement on the disability retirement list. See Lula A. McGlasson v. United States, decided this day, post, at 542. Mrs. Scroggins was a food service worker in the cafeteria of the Public Health Service Plospital in Baltimore. In April 1965, following an altercation with a fellow-worker and plaintiff’s continuing complaints about that employee, the hospital asked her to submit to a psychiatric examination. She requested that this be done at Johns Hopkins Hospital but did not give the name of the doctor she desired to undertake the examination or furnish the Public Health Service with any report from a psychiatrist. She also did not submit herself for psychiatric examination at the Public Health Service Hospital. Thereupon the employing agency, on April 27, 1965, transmitted to the Civil Service Commission an application for her involuntary retirement “since she is unwilling to apply.” Accompanying the application were statements by two psychiatrists at the Public Health Service Hospital, copies of certain of the agency’s prior correspondence with plaintiff, and a memorandum by her supervisor describing events leading to the application.1 On May 4, 1965, the Commission asked plaintiff to undergo a psychiatric examination (at government expense) at a federal facility. An appointment for such an *533examination was made and then canceled at her request. Apparently she failed to agree to an examination by a doctor acceptable to the Commission. On June 14, 1965, the Commission’s Bureau of Retirement and Insurance notified her of the approval of the involuntary application, and of her appeal rights. Her counsel noted an appeal.
The Commission’s Board of Appeals and Review directed a psychiatric examination before it would make its decision, and, at the Commission’s request and the urging of her counsel, plaintiff underwent (at the cost of the Government) such an examination by Dr. H. D. Shapiro, a privately-practicing qualified psychiatrist in Washington. (Dr. Shapiro was selected by the Commission.) He diagnosed her condition as a paranoid reaction and concluded that she was disabled for the job of food service worker. After receipt of this report, and “careful consideration of all the facts in Mrs. Scroggins’ case” — the record before it included materials furnished by the plaintiff — the Board of Appeals and Review determined “that the medical evidence of record discloses disabilities of sufficient severity upon which to base a conclusion that Mrs. Scroggins is totally disabled for useful and efficient service in the position of Food Service Worker within the meaning of the Retirement Act.” On plaintiff’s request for review by the Commissioners themselves, they found the Board’s decision correct “and that the action of retiring Mrs. Scroggins for disability reasons was justified.”2 She sues to set aside these determinations. Both parties move for summary judgment, resting on the record before the Commission.3
The Retirement Act provides (5 U.S.C. § 8347 (1964 Supp. II), formerly 5 U.S.C. § 2266) that “the Commission shall determine questions of disability and dependency” and its decisions “concerning these matters are final and conclusive and are not subject to review.” This is a special and unusual restriction on judicial examination, and under it courts are not as free to review Commission retirement decisions as *534they would be if the “finality” clause were not there. We have said that, at best, a court can set aside the Commission’s determination “only where there has been a substantial departure from important procedural rights, a misconstruction of the governing legislation, or some like error ‘going to the heart of the administrative determination.’ ” Gaines v. United States, 158 Ct. Cl. 497, 502, cert. denied, 371 U.S. 936 (1962). See also the trio of District of Columbia Circuit decisions decided in July 1956, Ellmore v. Brucker, 236 F. 2d 734, cert. denied, 352 U.S. 955; Murphy v. Wilson, 236 F. 2d 737, cert. denied, 352 U.S. 954; and Smith v. Dulles, 236 F. 2d 739, cert. denied, 352 U.S. 955.
Plaintiff does not urge that she was deprived of any of her procedural rights under the Commission’s regulations, but she does ask us to hold that a trial-type hearing (or the prime elements of one) had to be given her under the statute and the Constitution.4 This court and three circuits have already declared otherwise. Gaines v. United States, supra, 158 Ct. Cl. at 502; Kleinfelter v. United States, 162 Ct. Cl. 88, 93, 318 F. 2d 929, 932 (1963) ; Ellmore v. Brucker, supra, 236 F. 2d at 736; Murphy v. Wilson, supra, 236 F. 2d at 738; Smith v. Dulles, supra, 236 F. 2d at 740; Cerrano v. Fleishman, 339 F. 2d 929, 931 (C.A. 2, 1964), cert. denied, 382 U.S. 855 (1965); United States v. Abbett, 381 F. 2d 609, 612 (C.A. 5, 1967); Chafin v. Pratt, 358 F. 2d 349, 356-58 (C.A. 5, cert. denied, 385 U.S. 878 (1966). On this point, see, also the plurality and concurring opinions in McGlasson v. United States, supra, decided this day. We know no adequate reason to depart at this time from that unanimous position.5
The Commission can, of course, grant more procedural rights than the minimum required by the Constitution and the Retirement Act. Indeed, the Commission has just recently *535modified its practice in these cases of involuntary retirement — particularly those submitted on mental grounds — so that the employee and the public can feel more secure that a proper result is being reached.6 Just because an administrative scheme with lesser protections is legal is not a good reason for withholding improvements which are desirable and called for. See Sobeloff, “Attorney for the Government: The Work of the Solicitor General’s Office”, 41 A.B.A. Jour. 229, 231 (1955). Although an agency may be under no legal mandate, it has a public obligation, unenforceable in the courts but nevertheless real, to review its procedures and rules to take account of a substantial body of complaints. The Commission appears to have responded to that public obligation in reconsidering its practice and adopting new procedures. These new regulations did not, of course, govern the present case, and we do not in any way pass upon them. For this case it is enough that we are unable to say that the Commission was earlier compelled by law, the Congressional scheme being what it is, to upgrade its procedures, even though that course might have been wiser or more advisable.
The only other question is whether the Commission, in appraising the materials before it, made an error going to the heart of the administrative determination.7 Since we cannot weigh the evidence for ourselves or even apply the conventional “substantial evidence” standard, there is little point to setting out a full summary of the record. The Board of Appeals and Keview, as well as the Commissioners, had before them Dr. Shapiro’s three-page, single-spaced report (based on his psychiatric examination of the plaintiff) which contained the details of his psychiatric interview, what the plaintiff told him, how she responded to his questions, and his observations. His diagnosis was “Paranoid reaction in a setting of an artificially produced menopause”, and he concluded that she *536was disabled for her job as food service worker and that the disability was indefinite in duration. The Commission also had the documents supplied by the Public Health Service. These included the detailed factual statement of the plaintiff’s supervisor (the dietetic director at the Public Health Service Hospital), giving the supervisor’s version of the employment difficulties with plaintiff. There was also a short statement by the Chief of the Psychiatric Service at the hospital,8 and a larger and more detailed statement by a staff psychiatrist there who had also not examined Mrs. Scroggins at the time of the agency’s application but who felt, from a telephone conversation with her and other observations, that various factors tended to suggest “that the patient is currently deteriorating into a serious psychiatric disorder” and was “rapidly approaching the point where she could be considered to be a danger to herself or to her fellow employees in the immediate future”; he recommended suspension “from further employment at this hospital until such time as she has been examined by the psychiatrist either at this facility or any of her choosing.”
On the other side were short written medical statements, favorable to her position, which were supplied by plaintiff. The four statements by psychiatrists were very summary and conclusory, with little or no supporting detail.9 A gynecologist said, after referring to physical matters, that she was “a perfectly healthy woman with an artificially induced menopause” who was “fit for any kind of duty compatible with her age.” Plaintiff has attached to her summary judgment motion two statements by psychiatrists, who saw her at her request, which were not put before the Commission *537though available at the time. See note 3 supra. Passing the question whether we should consider these at all, we note that one is a two sentence note that the doctor had examined Mrs. Scroggins on January 19, 1965, and “could not find anything unusual in her behavior or thinking.” The other doctor (who observed that he had seen no other medical records and no written statements from her employers) concluded that “her intelligence is within normal limits, and there is no evidence of psychosis. Her personality is that of an hysteric, and many aspects of the history are in keeping with this impression. She is legally sane, and, in my opinion, competent to handle her own affairs.” (Under the Retirement Act, the issue is not whether the employee is legally sane or competent to handle her own affairs, but whether she is totally disabled for her job.)
At most, this record presents a pure conflict of medical evidence, and it is of course settled that “a court cannot substitute its judgment on medical evidence for the determination of the Commission.” Gaines v. United States, supra, 158 Ct. Cl. at 502. See, to the same effect, Ellmore v. Brucker, supra, 236 F. 2d at 736; Cerrano v. Fleishman, supra, 339 F. 2d at 931. There is plainly no error going to the “heart of the administrative determination” when the Commission accepts one medical view rather than another.
Two other attacks on the determination are left. The first is that the Board of Appeals and Review and the Commissioners did not examine all the material before them. There is nothing whatever to support this charge and it is contradicted by the Board’s observation that it carefully considered “all the facts.” An unsupported allegation of this kind is obviously fruitless. Cf. Harrington v. United States, 161 Ct. Cl. 432, 442 (1963).
The other assertion is that the Commission’s decision was vitiated by bad faith since, it is said, both the report of Dr. Shapiro and that of Dr. Alderete (the staff psychiatrist at the Public Health Service Hospital) were made in mala fide. This is an issue which could have been, but was not, presented to the Board of Appeals and Review and to the Commissioners. Under Pine v. United States, 178 Ct. Cl. 146, 371 *538F. 2d 466 (1967), we need not consider it. In any event, the assault is based on nothing but disagreement with certain of the statements in the reports which fall far short (on the most adverse interpretation) of indicating bad faith. No affidavits are presented nor detailed factual allegations made. There is no reason for a further inquiry on this point (Greenway v. United States, 163 Ct. Cl. 72, 82 (1963)), and plaintiff does not even ask for a trial. Obviously, we have here nothing approaching the “well-nigh irre-fragable proof” needed to show bad faith, personal animus, or “railroading”. Knotts v. United States, 128 Ct. Cl. 489, 492, 121 F. Supp. 630, 631 (1954).
The plaintiff is not entitled to recover and her motion for summary judgment is denied. The Government’s motion is granted and the petition is dismissed.

 The hospital also certified that attempts to place plaintiff with other federal hospitals in Baltimore were unsuccessful.


 Plaintiff’s counsel did not Rave a copy of Dr. Shapiro’s report before the decision of the Board of Appeals and Review but did receive a copy before taking the appeal to the Commissioners.


 Plaintiff also adds two medical statements which were not before the Commission.


 This point was not made in the petition or in plaintiff’s brief but was raised in oral argument.


 Plaintiff calls a disability retirement for psychiatric reasons a “badge of infamy.” In answer to a similar argument, the Fifth Circuit recently said (Chafin v. Pratt, supra, 358 F. 2d at 357) : “Appellant has not lost the right to work elsewhere as a secretary, retirement is certainly less drastic than outright discharge, and appellant’s retirement for disability, even if interpreted as she does to be a finding of mental incompetence, casts no aspersion on her moral character or loyalty.”


 The Commission has been considering for some time a change in its procedures. See the outline of proposed revised procedures for agency-filed disability retirement claims enclosed with Chairman Macy’s letter of June 27, 1967, to then President Sidney S. Sachs of the Bar Association of the District of Columbia. On May 24, 1968, the Commission adopted new regulations for these involuntary retirement cases. See 33 Fed. Reg. 7715-17, May 25, 1968.


 There is no contention that the Commission misconstrued the substantive aspects of the Retirement Act or of its regulations.


 “I have reviewed the records of the above-noted employee [Mrs. Scroggins], and discussed her behavior with those who have observed her in recent months. I have not examined her myself due to her refusal to be examined psychiatrically.
“From behavior described by various observers, however, I think we have no choice but to consider that she is at this point ill, and constitutes a possible danger to herself or others if she should return to her present employment, until she has been examined and cleared by acceptable psychiatric examination.”


 Of the four, two do not appear to have been by qualified specialists in psychiatry. One specialist simply said that he had “found no mental condition that would necessarily interfere with her being employed by the Federal Government” (emphasis added). This does not appear to take account of plaintiff’s fitness for her particular job as food service worker.

